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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * *               *
  R.H. FARMS, INC., et al.,                   *
                                              *
                                              *
                                              *         No. 09-129L
                       Plaintiffs,            *         Filed: February 10, 2017
                v.                            *
                                              *
  UNITED STATES,                              *
                                              *
                       Defendant.             *
                                              *
  * * * * * * * * * * * * * * *
                             ORDER

       The court is in receipt of the parties’ February 10, 2017 joint motion for entry of
amended judgment. The parties’ joint motion for entry of amended judgment is
GRANTED. The Clerk of the Court shall enter JUDGMENT in the following amounts:
$1,246,870.33 in principal, $821,275.31 in interest through February 28, 2017, and
$575,000.00 for reimbursement of attorneys’ fees, and $180,000.00 for reimbursement
of costs pursuant to the Uniform Relocation Assistance and Real Property Acquisition
Policies Act of 1970, 42 U.S.C. § 4654(c). Additionally, interest will continue to accrue
after February 28, 2017 at a 4.00% interest rate, compounding annually, until the date of
payment.

      IT IS SO ORDERED.

                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
